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                                                                  Wednesday, 15 August, 2018 04:23:05 PM
                                                                             Clerk, U.S. District Court, ILCD

                              UNITED STATES DISTRICT COURT
                           FOR THE CENTRAL DISTRICT OF ILLINOIS
                                  ROCK ISLAND DIVISION

KEWU ZHAN,                                         )
                                                   )
                   Plaintiff,                      )
                                                   )
v.                                                 )
                                                   )
PATRICK F. HOGAN; CMB EXPORT                       ) No. 4:18-CV-04126-SLD-JEH
INFRASTRUCTURE INVESTMENT GROUP                    )
48 LP; CMB EXPORT LLC; CMB ILLINOIS                )
REGIONAL CENTER LLC D/B/A CMB                      )
REGIONAL CENTERS; NK IMMIGRATION                   )
SERVICES, LLC,                                     )
                                                   )
                   Defendants.                     )

              UNOPPOSED MOTION FOR EXTENSION OF TIME TO RESPOND

         Defendants CMB Export LLC and CMB Export Infrastructure Group 48 (“Group 48”),

by and through undersigned counsel, hereby move for an extension of time to file their response

to Plaintiff’s Complaint. In support thereof, Defendants state as follows:

         1.        Counsel for Defendants CMB Export and Group 48 conferred in person with

Plaintiff’s counsel concerning the relief requested herein. Plaintiff does not oppose the relief

requested.

         2.        CMB Export and Group 48 were served on July 25, 2018 and their responsive

pleading is thus due on August 15, 2018.

         3.        The remainder of the named Defendants, Patrick Hogan, CMB Illinois Regional

Center LLC d/b/a CMB Regional Centers (CMB Regional Centers) and NK Immigration

Services LLC (“NK”) had not been served, though counsel for Plaintiff and Defendants have

reached an agreement on service, discussed below.




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         4.        As the Court is aware, Plaintiff has alleged that several of the defendants were

evading service. See Motion for Service by Publication, Dkt. No. 17. Defendants deny they

were evading service, and contacted the process server to arrange a time for her to return to the

facility when a proper representative was available for acceptance of service.       This back-and-

forth notwithstanding, counsel for the defendants conferred with Plaintiff’s counsel and arranged

to accept service.

         5.        Pursuant to the agreement briefly described, the parties have stipulated that the

remaining Defendants shall be deemed served with the Complaint and its exhibits as of August 8,

2018. Defendants will submit entries of appearance forthwith without requiring further service

efforts or expenses by Plaintiff of Plaintiff’s counsel.

         6.        Based on the foregoing, three defendants have a different response date than the

first two, served, defendants. Namely, these later served Defendants’ responsive pleading is due

August 29, 2018.

         7.        Defendants have substantial commonality of interest in the defenses to Plaintiff’s

claims. Many of Plaintiff’s claims overlap and are made toward all defendants. And those

defendants who are not directly parties to the contracts attached to Plaintiff’s Complaint, Mr.

Hogan for example, are alleged to be inextricably intertwined or controlled by one-another.

         8.        Defendants seek to extend the deadline for responsive pleadings pursuant to

Federal R. Civ. P. 12(b) for the two earlier-served Defendants only. By this extension, all

Defendants’ deadlines for responsive pleadings pursuant to Fed. R. Civ. P. 12(b) will be

harmonized and due on August 29, 2018.




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         9.        The extension requested will not result in any delay, as the case will not move

past the initial pleadings until all Defendants have responded to the Complaint. For example,

discovery cannot proceed until all responsive pleadings have been served and the case is at issue.

         10.       Defendants have good cause to request the extension. As described above, there

is substantial commonality between the defendants. Permitting the extension will allow those

common defenses to be presented collectively as appropriate in Defendants’ pleadings. This will

eliminate overlapping responses which, themselves, would have conflicting schedules.

Requiring multiple time tables for multiple responsive pleadings will create docketing and

scheduling challenges for the Court and all parties. These challenges can be solved without

prejudice to any party by aligning the responsive pleading dates through the requested extension.



         WHEREFORE, Defendants CMB Export LLC and CMB Export Infrastructure Group 48

(“Group 48”) respectfully request an extension to file their responsive pleading to Plaintiff’s

Complaint by 14 days, to be due on August 29, 2018.

                                               Respectfully submitted,


                                                      /s/ Donald E. Lake, III
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                                       Infrastructure Group 48




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                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a copy of the foregoing was electronically filed with the Clerk

of the Court using the CM/ECF system and served electronically to all Parties on this 15th day of

August 2018.

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                   Attorneys for Plaintiff Kewu Zhan


                                                             /s/ Donald E. Lake, III
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